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     Exhibit 2
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     Exhibit 3
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              Exhibit 4
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHARON F.,                                     )
                                               )
                              Plaintiff,       )        Case No.: 1:21-cv-02756
               v.                              )
                                               )        Hon. John J. Tharp
CYNTHIA MARTIN, and THE BOARD                  )
OF EDUCATION OF LAKE FOREST                    )
HIGH SCHOOL DISTRICT 115,                      )
                                               )
                              Defendants.      )


                    DEFENDANT CYNTHIA MARTIN’S ANSWERS TO
                    PLAINTIFF’S FIRST SET OF INTERROGATORIES

       Defendant CYNTHIA MARTIN, by and through his attorneys, PRETZEL &

STOUFFER, CHARTERED, and pursuant to Federal Rule of Civil Procedure 33, provides the

following Answers and Objections to the First Interrogatories of Plaintiff, SHARON F.

                                     INTERROGATORIES

        1.     State the full name of the defendant answering, as well as your current professional
and residential addresses, date of birth, marital status and the last four digits of your social
security number.

ANSWER:

Cynthia Martin
1915 Illinois St. Des Plaines, IL 60018 (residential)
D.O.B.: 11/06/58
Not married.

      2.     Identify the name of any person who has given a statement or deposition, recorded
or memorialized in any form including video or audio, which relates to any claim of Sexual
Misconduct by Martin with any minor, including the Plaintiffs, as well as:

               a.     The names of any person involved in any investigation by you or
                      any defendant of such allegation; and,
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               b.      To the extent any such deposition has occurred, please provide the name of
                       the deponent, date of the deposition and identification of the court reporter.

ANSWER:

Without waiving any objection, none known to this Defendant at this time besides those
redacted names contained in the Lake Forest PD Investigation report.

        3.      Identify the name, title and current address of any person who (a) reported to the
Defendants, or any representatives thereof, any actual, alleged or suspected Sexual Misconduct
by Martin; (b) received or recorded any such report or allegation; and, (c) investigation any such
report or allegation.

ANSWER:

Without waiving any objection, none known to this Defendant at this time.

        4.      With respect to each report or allegation identified in 3 above, identify (a) the date
of each report, allegation, record and/or investigation; (b) the nature and substance of such
report, allegation, or investigation; (c) the disposition of such report, allegation, or investigation;
and, (d) the current location of any record of the report, allegation or investigation.

ANSWER:

Please see answer to Interrogatory No. 3.

       5.      State the following and if you cannot answer, identify the person on behalf of the
defendant, with the most knowledge of:

               (a)     The training and education of Martin;

               (b)     Any psychological testing or assessment of Martin;

               (c)     The assignments of Martin within Lake Forest High School
                       Community School District 115;

               (d)     Any report of alleged inappropriate sexual contact or abuse by
                       Martin prior to her assignment at Lake Forest High School.

               (e)     The investigation by any defendants of reports of alleged inappropriate
                       sexual conduct or abuse by Martin prior to her employment at Lake Forest
                       High School.


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              (f)     The investigation by any defendant of reports of inappropriate sexual
                      conduct or abuse by Martin during or after her employment at Lake Forest
                      High School; and,

              (g)     The assignment of a person to watch, monitor, assist, or counsel Martin
                      regarding, or in response to, alleged inappropriate sexual conduct or abuse
                      by Martin.

ANSWER:

Objection as to relevance and vagueness as to what is being requested to be stated in regard to
seven different lines of inquiry. Without waiving the objection, Martin never received any
reports of inappropriate sexual conduct during her teaching career. Further, please see the
Defendant’s response to your requests to produce, specifically, Illinois State Board of
Education production documents BATES stamped ISBE 000023-000091 with regard to
Martin’s employment at Lake Forest High School.

         6.    Identify the time frame when Lake Forest Community High School District 115
and/or Lake Forest High School were first apprised of allegations of Sexual Misconduct by
Martin, and state the persons who provided such information, and the substance of such report or
allegation.

ANSWER:

Objection in that interrogatory seeks knowledge held by another party. Without waiving said
objection, none other than what is known to this Defendant as the redacted names contained
in the Lake Forest PD Investigation report produced in this Defendant’s responses to your
requested production, BATES stamped ISBE 000012-000022.

        7.     Identify each person who held the positions of Superintendent, School Board,
Principal and Vice Principal from 1980-present. Identify the person with direct supervisory
authority over Cynthia Martin from 1980-present.

ANSWER:

Objection in that interrogatory seeks knowledge held by another party. Objection as this
interrogatory is overly broad in regard to the time frame requested. Without waiving the any
objection, Robert Metcalf (Superintendent), and Andrew Kleck (immediate supervisor)
before 1986-1987 school year, David Strain (immediate supervisor) 1986-1987.

         8.    Identify all persons by or on behalf of any defendant, who talked to any of the
plaintiffs or any student at any school where Martin has worked about alleged abuse by or
relating to Martin and state the time frame and nature of such discussions.



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ANSWER:

Objection as this interrogatory is overly broad. Without waiving any objections, Martin and
Plaintiff spoke frequently about many topics while Plaintiff was a student in high school and
thereafter. Martin has no other information responsive to this interrogatory.

       9.      Identify the full name, address, and current location, of any Professional
Responsibility Administrator (PRA) by or on behalf of any defendant from 1980-present.

ANSWER:

Objection, this Interrogatory No. 9 is not directed to this Defendant. Without waiving any
objections, none.

       10. Identify the name, title, position, social security number, last known address of
any person, who reported any matter relating to Martin’s Sexual Conduct and/or Sexual
Misconduct while employed with the school district.

ANSWER:

None.

        11. Please identify any and all primary and/or excess insurance against occurrences or
claims of the kind alleged by the plaintiffs in the complaint, including the name and address of
the insurer(s), the limit of any applicable policy, whether the policy or policies were in effect at
the time of the occurrences or claims alleged in the complaint and whether the policy or policies
contained intentional acts exclusions and if they do, please provide the wording of any such
exclusions.

ANSWER:

Martin did not purchase any policies to which this applies.

        12.    For any and all insurance policies identified in response to interrogatory 11 above,
please state whether such insurer has been notified of the plaintiffs’ claims herein, whether the
insurer has denied coverage for such claims or whether such insurer has asserted a reservation of
rights.

ANSWER:

Martin made a demand on the School District to provide coverage, which the School District
rejected.



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       13.     Identify all Persons hired or retained by You to investigate the plaintiffs or their
claims against You.

ANSWER:

None.

        14.    Identify all judges, former judges, or elected officials You have communicated
with.

ANSWER:

Objection, this Interrogatory No. 14 is irrelevant. Without waiving any objection, none.

        15.    Do you have any document or information:

               a.     That any plaintiff was, within the five years immediately prior to the
                      occurrence, confined in a hospital and/or clinic, treated by a physician
                      and/or other health professional, or x-rayed for any reason other than
                      person injury? If so, state the name and address of each such hospital
                      and/or clinic, physician, technician and/or other health care professional,
                      the approximate date of such confinement or service and state the reason
                      for such confinement or service.

               b.     That any plaintiff has suffered any serious personal injury and/or illness
                      prior to the date of the occurrence? If so, state when, where and how he
                      was injured and/or ill and describe the injuries and/or illness suffered;

               c.     That any plaintiff has suffered any serious personal injury and/or illness
                      since the date of the occurrence? If so, state when, where and how he was
                      injured and/or ill and describe the injuries and/or illness suffered;

               d.     That any plaintiff has ever filed any other suit for his/her own personal
                      injuries? If so, state the court and caption in which filed, the year filed, the
                      title and docket number of the case.

               e.     That any plaintiff received or underwent any psychiatric, psychological or
                      counseling assessment, exam or services;

               f.     That any plaintiff was the victim of any other sexual or physical abuse
                      (excluding that in the plaintiff’s complaint); and,




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              g.     That any plaintiff was arrested or convicted regarding any criminal or
                     potential criminal matter.

ANSWER:

None known to this Defendant besides that which is being produced in discovery.
Investigation continues.

         16. Describe what actions you took in response to any accusations, including but not
limited to, any Counseling Services sought or provided by defendants.

ANSWER:

Objection, this Interrogatory No. 16 requests information that would violate HIPAA rights.
Without waiving any objections, no accusations were made against Martin while she was
employed by Defendant School District or thereafter and, therefore, Martin did not seek
counseling Services from Defendant School District.

         17. Describe each report made to any law enforcement agency or other governmental
entity by Lake Forest Community High School District 115 and/or Lake Forest High School
relating to alleged or suspected Sexual Misconduct with any minor(s) by you.

ANSWER:

None.

       18. Describe with particularity all efforts taken by any defendant to determine
whether You were sexually attracted to minors.

ANSWER:

Objection to all inferences raised in this interrogatory. Without waiving any objection, Martin
participated in the typical background checks for that era before her employment at the
School District.

        19. Describe with particularity any specific medical or psychological problems, not
associated with Sexual Misconduct with minors, which raised concerns with defendants about
Your fitness for employment.




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ANSWER:

Objection to relevance, to the lack of specificity regarding the years at issues, and to the
existence that Martin had any specific medical or psychological problems while employed by
Defendant School District. Without waiving any objection, to Martin’s knowledge, there was
no question as to her fitness for employment.

        20. Describe with particularity any information available to any defendant, if any, that
Martin had problems with alcohol or substance abuse.

ANSWER:

Objection to relevance, to the lack of specificity regarding the years at issues, and to the
existence that Martin had any problems with alcohol or other substances while employed by
Defendant School District. Without waiving any objection, there was no question as to
Martin’s fitness for employment.

        21. Describe what actions were taken by any defendant to address Your problems
with alcohol or substance abuse, if any.

ANSWER:

See objections and responses to Interrogatory No. 20.

       22. Describe with particularity all reports or allegations that Martin engaged in Sexual
Misconduct with a minor, if any, which was made known to defendants at any time.

ANSWER:

Please see answer to Interrogatory No. 3. Without waiving any objection, Plaintiff is the only
individual to have made such allegations, see the Lake Forest PD Investigation report
produced in this Defendant’s responses to your requested production, BATES stamped ISBE
000012-000022.

       23. Identify each Person who has knowledge of any facts relating to Martin’s alleged
Sexual Misconduct with any Person who was a minor on the date(s) of the alleged Sexual
Misconduct.

ANSWER:

For those who may have knowledge about the matters alleged in Plaintiff’s Complaint,
Martin incorporates her responses in her Rule 26 initial disclosures.



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       24.     Identify each Person who has supervised Martin’s employment or provision of
services from the beginning of Martin’s relationship with defendants through the present.

ANSWER:

Objection, this Interrogatory No. 24 is not directed to this Defendant, and asked and
answered. Without waiving any objection, please see answer to Interrogatory No. 7 for
further response.

        25.    Identify each of defendants’ employees or agents who worked with Martin, at any
time, and in any capacity.

ANSWER:

Objection, this Interrogatory No. 25 is not directed to this Defendant.

       26.    For each Employee identified in response to Interrogatory No. 26, state the time
frame and location that they worked with Martin.

ANSWER:

Objection, this Interrogatory No. 26 is not directed to this Defendant and is beyond the FRCP
Rule 33 limitation on written interrogatories.

      27.     Identify all witnesses who knew or have reported that they knew that Martin had
engaged in Sexual Misconduct with any minor(s).

ANSWER:

Objection calls for a legal conclusion and is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving previous objection, Martin has no information responsive to
this request.

       28.      Identify all witnesses who had any suspicion, or have reported that they had any
suspicion, that Martin had engaged in Sexual Misconduct with any minor(s).

ANSWER:

Objection calls for a legal conclusion and is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving previous objection, Martin has no information responsive to
this request.



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       29.    Identify all witnesses who suspected or have reported that they suspected that
Martin had a propensity to commit Sexual Misconduct with any minor(s).

ANSWER:

Objection calls for a legal conclusion and is beyond the FRCP Rule 33 limitation on written
interrogatories and was already asked in Interrogatory No. 28. Without waiving any
objection, Martin has no information responsive to this request.

      30.     Did Martin ever admit to any defendant or their employees or agents that he
engaged in Sexual Misconduct with any minor(s)?

ANSWER:

Objection calls for a legal conclusion and is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving previous objection, Martin made no such admission.

       31.    If the answer to Interrogatory No. 31 is yes, describe the facts relating to the
admission(s).

ANSWER:

None.

          32.   Identify all Employees who were assigned to work at the same assignment as
Martin.

ANSWER:

Objection, this Interrogatory No. 32 is not directed to this Defendant, overly broad, and is
beyond the FRCP Rule 33 limitation on written interrogatories. Without waiving Dennis
Herman, head softball coach, Bill Brehman was the head basketball coach, Maura Pineree
was a field hockey coach, and Mary Tigues.

        33.     Did You, or anyone acting at your request at any time ever destroy any
Documents relating to Martin? If so, describe the Documents You destroyed; including but not
limited to the Person who destroyed the Documents, the date of destruction, and the reason why
the Documents were destroyed.

ANSWER:

Objection, this Interrogatory No. 33 is not directed to this Defendant, overly broad, and is


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beyond the FRCP Rule 33 limitation on written interrogatories. Without waiving any
objections, several letters and cards were discarded in the late 1990s after the relationship
with Sharon ended in the natural course of things.

       34.     Describe with particularity any circumstances under which Martin has ever been
prohibited by any defendant, either voluntarily or involuntarily, from performing all duties
generally associated with her position, including whether she was subsequently allowed to
resume her full duties.

ANSWER:

Objection, this Interrogatory No. 34 is not directed to this Defendant and is beyond the FRCP
Rule 33 limitation on written interrogatories. Without waiving any objections, none.

       35.     If you provided a description in response to Interrogatory No. 35, please describe
with particularity the date(s) and reason(s) why any defendant prohibited Martin from
performing all duties generally required by her position.

ANSWER:

Objection, this Interrogatory No. 35 is not directed to this Defendant and is beyond the FRCP
Rule 33 limitation on written interrogatories. Without waiving any objections, none.

       36.    Describe any information indicating that Martin was accused of or suspected of
engaging in Sexual Misconduct at any other school district he was employed with.

ANSWER:

Objection, this Interrogatory No. 36 is not directed to this Defendant, overly broad, and is
beyond the FRCP Rule 33 limitation on written interrogatories. Without waiving any
objections, none.

       37.    Describe any information indicating that Martin had problems with alcohol or
substance abuse at any other school district in which he was employed.

ANSWER:

Objection, this Interrogatory No. 37 is not directed to this Defendant, overly broad, asked and
answered, and is beyond the FRCP Rule 33 limitation on written interrogatories. Without
waiving any objections, none.




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         38.     Identify any Person, including plaintiff, who You contend has knowledge, or
claims to have knowledge, of any facts relating to the incidents which are the subject matter of
this litigation.

ANSWER:

Objection, this Interrogatory No. 38 is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving any objections, Tammy McHaney a special education
teacher during the timeframe of the allegations, and potentially the individuals identified in
the Lake Forest PD investigation report.

        39.   Have You, or other Persons acting on Your behalf, contacted or spoken to any of
the Persons named in the answer to Interrogatory No. 39?

ANSWER:

Objection, this Interrogatory No. 39 is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving any objections, Ms. Martin and Ms. McHaney are friends
that stay in regular contact with each other.

          40.   If the answer to Interrogatory No. 40 is yes, separately Identify each such
Person.

ANSWER:

Objection, this Interrogatory No. 40 is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving any objections, see answer to Interrogatory No. 38.

        41.    As to all Persons whose names are set forth in Your responses to Interrogatories 39,
40, or 41, have You, Your investigators, or anyone acting on Your behalf, obtained statements of
any kind, whether written, stenographic, recorded, reported, or otherwise, from any law
enforcement agency, from any non-lawsuit related internal inquiry, or from any other entity?

ANSWER:

Objection, this Interrogatory No. 41 is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving any objections, no.

       42.    Do You have knowledge of any Document, report, statement, recording, or form of
testimony by any Plaintiff, signed or unsigned? If so, briefly describe the Document or
information with particularity.

ANSWER:


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Objection, this Interrogatory No. 42 is beyond the FRCP Rule 33 limitation on written
interrogatories. Without waiving any objections, yes – the Police Statements and the
communications between Sharon Flynn and Cynthia Martin identified in this Defendant’s
Responses to Requests to Produce.



Date: March 28, 2024.                         Respectfully submitted,

                                              CYNTHIA MARTIN

                                              By: /s/ Brendan M. Murray

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     Exhibit 7
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     Exhibit 8
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     Exhibit 9
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